     Case: 1:16-cv-08824 Document #: 10 Filed: 10/17/16 Page 1 of 2 PageID #:28



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

O2COOL, LLC,                                     )
                                                 )
      Plaintiff,                                 ) CIVIL ACTION NO. 1:16-cv-08824
                                                 ) Honorable Elaine E. Bucklo
v.                                               )
                                                 ) JURY TRIAL DEMANDED
FIVE BELOW, INC.,                                )
                                                 )
      Defendant.                                 )


                   STIPULATION OF DISMISSAL WITH PREJUDICE

       WHEREAS, Plaintiff in the above-entitled action hereby stipulates under Federal

Rule of Civil Procedure 41(a) to dismissal of this action with prejudice because the parties

have entered into a confidential Settlement and Release agreement to settle any and all

claims brought herein;

       IT IS HEREBY STIPULATED, by Plaintiff that this action shall be dismissed

with prejudice pursuant to the aforementioned confidential Settlement and Release

agreement. Each party will bear its own costs and fees in this action, including attorneys’ fees.


       IT IS SO STIPULATED.


                                              ***
      Case: 1:16-cv-08824 Document #: 10 Filed: 10/17/16 Page 2 of 2 PageID #:29




Date: October 17, 2016        Respectfully submitted,

                              O2COOL, LLC
                              By: /s/ Michael A. Parks
                              Michael A. Parks
                              Michelle Ware Skinner
                              THOMPSON COBURN, LLP
                              55 E. Monroe St.
                              Chicago, IL 60603
                              (312) 346-7500
                              Attorneys for Plaintiff


6444835.1




                                           -2-
